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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION

 QUINCY JACK                              CIVIL ACTION NO. 6:19-CV-00338

 VERSUS                                   JUDGE JUNEAU

 K P GIBSON, ET AL                        MAGISTRATE JUDGE HANNA


                                     ORDER

       Considering the foregoing Joint Stipulation of Dismissal, Rec. Doc. 30,

       IT IS HEREBY ORDERED that all claims in the above captioned matter,

 and this case, are DISMISSED WITH PREJUDICE.

       THUS DONE AND SIGNED in Lafayette, Louisiana on this 10th day of

  August, 2021.




                                          MICHAEL J. JUNEAU
                                          UNITED STATES DISTRICT JUDGE
